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                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MINNESOTA
                                                   PLEA HEARING
UNITED STATES OF AMERICA,                            )            COURT MINUTES - CRIMINAL
                      Plaintiff,                     )
                                                     )    Case No:          16CR334 (JNE/KMM) (1)
                          v.                         )    Date:             August 17, 2018
                                                     )    Court Reporter:   Kristine Mousseau
PAUL R. HANSMEIER,                                   )    Courthouse:       Minneapolis
                                      Defendant.     )    Courtroom:        12W
                                                     )    Time Commenced:   9:36 a.m.
                                                     )    Time Concluded:   10:16 a.m.
                                                          Time in Court:    40 Minutes

Defendant’s true name if different from charging instrument:
9 Parties ordered to file stipulation or proposed order for name change.
9 Clerk of Court is directed to change name to:

Before Joan N. Ericksen, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:
  For Plaintiff:    David J. MacLaughlin
  For Defendant: Manvir K. Atwal : FPD 9 CJA 9 Retained 9 Appointed
  Interpreter/Language: /
  9 Appointment of Counsel requested - 9 granted 9 denied.
  9 Appointed

PROCEEDINGS:
  9 Arraignment on 9 Information, 9 Indictment
  : Change of Plea Hearing.
  9 Initial Appearance.
  9 Indictment waived.
  9 Defendant withdraws plea of as to Count(s):

       : PLEA:
          : Guilty as to Counts 1 and 17 of the Indictment
          9 "Nolo Contendere" as to Count(s):
          9 Defendant admits allegations in the Information.

       :      Presentence Investigation and Report requested.
       :      Bond continued.
       9      Sentencing is scheduled for at before.
       9      Defendant remanded to the custody of the U.S. Marshal.
                                                                                            s/Mark Hamre
                                                                                                  Law clerk




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